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                         IN THE UNITED STATES DISTRICT              COURT                 CLTftH.L}-$ IHIJIIS

                             FOR THE DISTzuCT OF NEW MEXICO


 UNITED STATES OF        AMERICA,                    )
                                                     )
                Plaintiffi                           )    CRIMINAL NO.22-1060 Kc

        vs.

 RUDY GARCIA,

                Defendant.



                                       PLEA AGREEMENT

       Pursuant to Federal Rule of Criminal Procedure I    l,   the parties hereby    notifr the Court of

the following agreement between the United States Attorney for the Dishict of New Mexico, the

defendant, RUDY GARCIA, and the defendant's counsel, ANDRE POISSAI.IT:

                              REPRESENTATION BY COI.JNSEL

        1.     The defendant understands the defendant's right to be represented by an attomey

and is so represented. The defendant has thoroughly reviewed         all   aspects   of this case with the

defendant's attorney and is fully satisfied with that attomey's legal rcpresentation.

                                 RIGHTS OF THE DEFENDA}.IT

       2.      The defendant further understands the following rights:

               a-      to plead not guilty;

               b.      to have a trial by jury;

               c.      to confront and cross-examine witnesses and to call witnesses to testiff for
                       the defense; and

               d.      against compelled self incrimination.
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                          WAI.VER OF RIGHTS AND PLEA O.F GUILTY

          3.      The defendant hereby agrees to waive these rights and to plead guilty to the

Indictment charging in Count      I   a   violation of 21 U.S.C. $ 846: Conspiracy to Distribute Fentanyl

(N-phenyl-N-[-(2-phenylethyl)-4-piperidinylJ propanamide), contrary to            2l   U.S.C. gg 8al(aXl)

and     (b)(lXC); in Count 2 a violation of      2l U.S.C. $$ Sal(a)(l) and (b)(l)(C): Distribution of
Fentanyl (N-phenyl-N-[-(2-phenylethyl)-4-piperidinyl]           propanamide), and   l8 U.S.C. g 2, Aiding

and Abetting;     in Count 3 a violation of l8 U.S.C. g 92a(c)(l)(AXii): Using, Carrying,              and

Brandishing a Firearm During and in Relation to a Drug Trafficking Crime; and Possessing and

Brandishing a Firearm in Furtherance of Such Crime; in Count 4 a violation                of   18 U.S.C. $$

92a(c)(l)(A)(iii) and 92a$)$): Using a Firearm During and in Relation to a Drug Traffrcking

Crime; Discharging Said Firearm; and Causing Death Ttroueh Use of Said Firearm; and in Count

5 a violation   of l8 U.S.C. $$ 922(gXl) and 924: Felon in Possession of a Firearm and Ammunition.

                                      ELEMENTS OF THE OFFENSE

          4.      The elements   of2l     U.S.C. $ 846: Conspiracy to Distribute Fentanyl (N-phenyl-N-

fi-(2-phenylethyl)-4-piperidinyl] propanamide), contrary to 21 U.S.C. $$ 8a1(a)(l) and (bXl)(C),

are.'


                  a.     two or more persons agreed to violate the federal drug laws;

                  b.     the defendant knew the essential objective ofthe conspiracy;

                  c.     the defendant knowingly and voluntarily involved himself in the
                         conspiracy; and

                  d.     there was interdependence among the members of the conspiracy; that is,
                         the members, in some way or manner, intended to act together for their
                         shared mutual benefit within the scope of the conspiracy charged.
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       5.     The elements   of2l   U.S.C. $$   8al(aXl)   and   (bXl)(C), Distribution of Fentanyl (N-

phenyl.N-[1 -(2-phenylethyl)-4-piperidinyl] propanamide), are:

               a.                                 or intentionally distributed a controlled substance
                      *..fl;|;::i:fowingly
               b.     the substance was in fact fentanyl (n-phenyl-n-[l-(2-phenylethyl)4-
                      piperidinyll propanamide).

       6.r    The elements   of l8 U.S.C. $ 92a(c)(l)(AXii): Using, Carrying, and Brandishing         a

Firearm During and in Relation to a Drug Trafficking Crime; and Possessing and Brandishing a

Firearm in Furtherance of Such Crime, are:

              a.     the defendant committed the elements of a drug trafficking crime;

              b.     the defendant knowingly used, carried, possessed, or brandished a firearm;
                     and

              c.     the use or carrying of the firearm was during and in relation to, or the
                     possession of the firearm was in furtherance of, the defendant's drug
                     trafFrcking crime.

       7.     The elements   of   18   u.s.c. $$ 92a(c)(lxAxiii) and 92a$)(l): using a Firearm
During and in Relation to a Drug Traffrcking Crime; Discharging Said Firearm; and Causing Death

Through Use of Said Firearm, are:

              a.     the defendant used, carried, or discharged a firearm;

              b.     the defendant did so in furtherance of a drug      traflicking crime which may
                     be prosecuted in federal court; and

              c.     the defendant caused the death of a person through the use of the firearm.

       8.     The elements   of   18 U.S.C. $ 922(gxl), Felon in Possession of a Firearm and

Ammunition, are:

              a.     the defendant knowingly possessed a Iirearm and ammunition;

              b.     the defendant was convicted of a felony, that is, a crime punishable by
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                      imprisonment for a term exceeding one year, before he possessed the
                      firearm and ammunition;

                      at the time ofthe possessiorl the defendant knewthat he had been convicted
                      of a crime punishable for a tenn exceeding one year; and

                      prior to the defendant's possession of the firearm and ammunition, the
                      firearm and ammunition moved at some time from one state to another or
                      from a foreign country to the United States.

                                        SENTENCING

       9.     The defendant understands that the morimum penalty the Court can impose as to

Countsland2is:

              a.      imprisonment for a period of not more than 20 years;

              b.      a fine not to exceed $1,000,000.00;

                      a mandatory term of supervised release of not less than three years. (lf the
                     defendant serves a tenn of imprisonment, is then rcleased on supervised
                     release, and violates the conditions of supervised release, the defendant's
                     supervised release could be revoked--even on the last day of the term-and
                     the defendant could then be returned to another period of incarceration and
                     a new term ofsupervised release); and

              d.      a mandatory special penalty assessment   of $100.00.

       10.    The defendant understands that the mandatory minimum penalty the Court can

impose as to Count 3 is:

                      imprisonment for a mandatory minimum of seven years that must be served
                      consecutively to any other sentence imposed;

                      a fine not to exceed $250,000.00;

                      a mandatory term of supervised release of not more than three years that
                      must follow any term of imprisonment. (lf the defendant serves a term of
                      imprisonment, is then released on supervised release, and violates the
                      conditions ofsupervised release, the defendant's supervised release could
                      be revoked--even on the last day of the term--and the defendant could then
                      be returned to another period of incarceration and a new term of supervised
                      release); and
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              d.      a mandatory special penalty assessment of $100.00.

        ll.   The defendant understands that the mandatory minimum penalty the Court can

impose as to Count 4 is:

              a.     imprisonment for not less than ten years that must be served consecutively
                     to any other sentence imposed and up to life;

              b.     a fine not to exceed $250,000.00;

              c.     a mandatory term of supervised release   of not more than five yea$ that must
                     follow any term of imprisonment. (If the defendant serves a term of
                     imprisonment, is then released on supervised release, and violates the
                     conditions of supervised release, the defendant's superuised release could
                     be revoked--even on the last day of the term--and the defendant could then
                     be returned to another periodof incarceration and a new term of supervised
                     release); and

              d.     a mandatory specialpenalty assessment     of $100.00.


       12.    The defendant understands that the ma:<imum penalty the Court can impose as to

Count 5 is:

              a.     imprisonment for a period of not more than ten years;

              b.     a   fine not to exceed $250,000.00;

                     a mandatory term of supervised release of not more than three years that
                     must follow any term of imprisonment. (If the defendant serves a term of
                     imprisonment, is then released on supervised release, and violates the
                     conditions of supervised release, the defendant's supervised release could
                     be revoked--even on the last day of the term-and the defendant could then
                     be returned to another period of incarceration and a new term of supervised
                     release); and

                     a mandatory special penalty assessment   of $100.00.

       13.    The parties recognize that ttre Sentencing Guidelines are advisory, and that the

Court is required to consider them in determining the sentence    it   imposes. Defendant further
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recognizes that while the Defendant's attomey may have made a prediction or estimate         of   the

sentence that the Coun may impose, the Defendant understands that the Court is not bound by any

such estimate or prediction.

        14.     [t is expressly understood and agreed by and benreen the defendant and the United

States that:

                a.       The United States has made, and will make, NO AGREEMENT pursuant

to Federal Rule of Criminal Procedure ll(cXlXC), that a specific sentence is the appropriate

disposition of this case.

                b.       The United States has made, and   will   make, NO AGREEMENT to approve,

to oppose, or not to oppose pursuant to Federal Rule of Criminal Procedure 11(c)(1XB),            any

request made by the defendant or on behalf of the defendant for a particular sentence in this case,

other than the stipulations agreed to below.

                c.       The United States hereby expressly reserves the right to make known to the

United States Probation Offrce and to the Court, for inclusion in the presentence report prepared

pnrsuantto Federal Rule of Criminal Procedure 32,any information thatthe United States believes

may be helpful to the Court, including but not limited to information about any relevant conduct

underUSSG $     lBl.3.

                d.       The defendant recognizes that this plea agreement has already conferred a

benefit upon the defendant and that no downward departue is appropriate. Consequently, in return

for the benefit conferred on the defendant by entering into this agreement, the defendant agrees

not to seek a downward departure or variance from the applicable offense level or criminal history

category as determined by the Court. This specifically precludes any claim by the defendant,

pursuant to USSG $ 441.3, that the criminal history category overstates the seriousness            of
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defendant's criminal history. The defendant agrees that the advisory guideline range as determined

by the agreed upon stipulations is reasonable in light of l8 U.S.C. $ 3553 and Ilnited States           v,

Booker,543 U.S. 220 (2005). The defendant agrees not to seek a sentence below the advisory

guideline range.        If   the defendant, in violation of this paragraph, should nevertheless seek a

downward departure or variance, the United States reserves the right, in its sole discretion, to

withdraw this plea agreement and to proceed to triat on all charges before the Court.

                   e.        Except under circumstances where the Court, acting on its own, fails to

accept this plea agreement, the defendant agrees that, upon the defendant's signing of this plea

agreement, the facts that the defendant has admitted under this plea agreement as set forth below,

as     well as any facts to which the defendant admits in open sourt at the defendant's plea hearing,

shall be admissible against the defendant under Federal Rule of Evidence 801(dX2XA) in any

subsequent proceeding, including           a criminal trial, and the defendant oxpressly waives        the

defendant's rights under Federal Rule of Criminal Procedure I         l(f)   and Federal Rule of Evidence

410 with regard to the facts the defendant admits in conjunction with this plea agreement. The

Court has not acted on its own         if its rejection of the plea agreement occurs   after Defendant has

expressly or implicitly suggested to the Court a desire or willingness to withdraw his or her plea

or not to be bound by the terms of this plea agreement.

                                 DEFENDANT'S ADMISSION OF FACTS

           15.    By my signanre on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and

accept responsibility for my criminal conduct. Moreover, in pleading guilty,           I acknowledge that

if I   chose to go to trial instead of entering this plea, the United States could prove facts suflicient

to establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,
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including any facts alleged in the Indictment that increase the statutory minimum
                                                                                  or maximum

penalties. I specificalty admit the following facts related to the charges against me, and declare

underpenalty ofperjury that all of these facts are true and correct:

       Rudy Garcia (Garcia) fatally shot Anthony Kane Juarez (Juarez) on January
       24r2a22rjust prior to midnight in Las cruces, New Mexieo. ihe shooting
       occurred as a result of a drug deal for fentanyl-laced pills gone bad between
       Garcia and Juarez. Garcia is a convicted felon.

       On January 3ttz022rfollowing his arrest anrt while dctained at the Dona Ana
       County Detention Center, Garcia requested to speak with a detective.
       Detective Campa conducted an interview of Garcia after advising Garcia of
       his Miranda rights and obtaining a signed waiver of those rights. Garcia stated
       thet an rcqurintance of his, Donnette Inez, aka Donnette Mcdhs (Inez), hed
       been reaching out to him on multiple occtsions via text message about helping
       her and Juarez obtain blue pills. Garcia stated that he was riluctant to help
       them but ultlmately agreed to help because his ex-wife @lanca Flores) had the
       pills and because hc needed money. Garcia and Inez negotiated for inez and
       Juarez to purchase 100 pitls from Flores for $500. Grrcia stated that he stood
       to make a small "tax" for brokering the dcal, which Garcia understood was
       going to be ten pills that he could later sell.

      Prior to gettlng the pills (fentanyl), Garcla and Juarez had a conversation at a
      motel where Grrcia let Juarez know he had a shotgun and displayed the
      shotgun so that it was visible to Juarez. Garcia expressed concern tlat Juarez
      had developed a reputation for conducting "drug rips" and did not want any
      trouble during the deal. They then traveled to F'lorest residence to purchase
      the pills.

      After obtaining the pills frorn Flores' son (f,'lores was not at home at the time
      of the purchase) and counting them, Garcia and Juaroz then walked together
      back to Martinez's vehicle. As they were getting into Martinezts vehicle,
      Garcia claimed that he observed Juarez reach for his pistol. Because he was
      already'6at uneasert' Garcia stated that he stepped out of Martlnez's vehicle,
      pulled out his sbotgun; and started shooting at Juarez. Garcia also stated that
      he felt threatened, and that he just "reacted' by shooting at Juarez. Ultimately,
      however, Garcia's actions were not reasonable under the circumstances.
      Juarez died from the gunshot wound he sustained that ntght

      Prior to the time Garcia possessed the lirearm and ammunitlon he had been
      convicted of a felony and was aware of his status rs a felon.
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        The lirearm and ammunition traveled in interstate or foreign commerce prior
        to the time Garcia possessed them.

        By signing this agreement, the defendant admis that there is a factuat basis for each

element of the crime(s) to which the defendant   will plead guilty. The defendant   agrees that

the Court may rely on any of these facts, as well as facts in the presentence report, to

determine the defendant's sentence, including, but not limited to, the advisory guideline

offense level.

                                          STIPIJLATIONS

        16.      The United States and the defendant stipulate as follows:

                 a.     Pursuant   to USSG $ 2Dl.l(c), the parties stipulate that the defendant is

responsible for approximately one-hundred pills of fentanyl (n-phenyl-n-[-(2-phenylethyl)-4-

piperidinyll propanamide).

                 b.     Pursuant   to USSG $ 3El.l(a), the defendant has clearly demonstrated     a

recognition and afiirmative acceptance of personal responsibilif for the defendant's criminal

conduct. Consequently, so long as the defendant continues to accept responsibility for the

defendant's criminal conduct, the defendant is entitled to a reduction of two levels from the base

offense level as calculated under the sentencing guidelines. This reduction is contingent upon the

defendant providing an appropriate oral or written statement to the United States probation officer

who prepares the presentence report in this case in which the defendant clearly establishes the

defendarlt's entitlement to this reduction.

                 c.     Provided the defendant meets the requirements of USSG $ 3El.l(b), the

government agrees to move for a reduction of one additional level from the base offense level as

calculated under the sentencing guidelines.
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                    d.     Apart from the provisions in this plea agreement, the United States and the

Defendant reserve their rights to assert any position or argument with respect to the sentence to be

imposed, including but not limited          to the applicability of particular sentencing guidelines    and

adjustments under the guidelines.

        17.         The defendant understands that the above stipulations are not binding on the Court

and that whether the Court accepts these stipulations is a matter solely        within the discretion of the

Court after    it   has rsviewed the presentence    report. Fnrther, the defendant understands that the

Court may choose to vary from the advisory guideline sentence. The defendant understands that

if the Court   does not accept any one or more of the above stipulations and reaches an advisory

guideline sentence different than expected by the defendant, or            if   the Court varies from the

advisory guideline range, the defendant        will not seek to withdraw the defendant's     plea of guilty.

In other words,       regandless   of any stipulations the parties may enter into, the defendant's final

sentence is solely within ttre discretion     ofthe Court.

                                                FORFEITURE

        18.         The Defendant agrees to forfeit, and hereby forfeits, whatever interest the

Defendant may have in any asset derived from or used in the commission of the offense(s) in this

case. The Defendant agrees to cooperate        fully in helping the United States (a) to locate and identi$

any such assets and (b) to thb extent possible, to obtain possession and/or ownership of all or part

of any such assets. The Defendant further agrees to cooperate fully in helping the United States

locate, identifr, and obtain possession and/or ownership of any other assets about which the

Defendant may have knowledge that were derived from or used in the comrnission of offenses

committed by other percons.



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        19.    The Defendant voluntarily and immediately agrees to forfeit to the United States

all of the Defendant's right, title, and interest in the following assets and properties:

               &i      a Maverick Arms model 88 l2-gauge shotgun, serial number             MV9I507L,

                       and

               b.      twenty-seven Q7) rounds of l2-gauge shotgun ammunition.

       20.     The Defendant agrees to fully assist the United States in the forfeiture ofthe above-

described property and to take whatever steps are necessary to pass clear title to the United States,

including but not limited to execution of any documents necessary to transfer the Defendant's

interest in the above-described property to the United States.

       21,     The Defendant agrees to waive the right to notice of any forfeittue proceeding

involving the above-described property.

       22.     The Defendant knowingly and voluntarily waives the right to a jury trial on the

forfeiture of the above-described property. The Defendant knowingly and voluntarily waives all

constitutional, legal, and equitable defenses to the forfeiture of said property in any proceeding.

The Defendant agrees to waive any jeopardy defense or claim of double jeopardy, whether

constitutional or statutory, and agrees to waive any claim or defense under the Eighth Amendment

to the United States Constitution, including any claim of excessive fine, to the forfeiture of said

property by the United States or any State or its subdivisions.

                                 DEFENDANT'S OBLIGATIONS

        23,    The defendant understands the defendant's obligation to provide the United States

Probation Oflice with truthful, occurate, and complete information, including, but not limited to

defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied       with and will continue to comply with this
                                                   ll
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obligation. The defendant understands that any misrepresentation with respect to the above

obligations may be considered a breach of this plea agreement.

         24.    The Defendant agrees that any financial records and information provided by the

Defendantto the Probation Office, before or afrersentencing, may be disclosed to the United States

Attorney's office for use in the collection of any unpaid financial obligation.

         25.    By signing this plea agreement, the defendant waives the right to withdraw the

defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure I       l(d) unless: (l)   the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I I (c)(5) or (2) the

defendant can show a fair and just reason as those terms are used in Rule I I (dX2XB) for requesting

the   withdrawi. Furthermore, defendant   understands that   if the court rejects the plea   agreement,

whether or not defendant withdraws the guilty plea, the United States is relieved of any obtigation

it had under the agreement and defendant shall be subject to prosecution for any federal, state, or

local crime(s) which this agreement othenrise anticipated would be dismissed or not prosecuted.

                  WAIVER OF APPEAL Al.lD POST-CONVICTION RIGHTS

         26.   The Defendant is aware that28 U.S.C. $    l29l   and 18 U.S.C. g3742afford the right

to appeal a conviction and the sentence imposed. Acknowledging that, the Defendant knowingly

waives the right to appeal the Defendant's conviction(s) and any sentence, at or under the

maximum statutory penalty authorized by law, as well as any order of restitution entered by the

Court. The Defendant also waives the right to appeal any sentence imposed below or within the

Guideline range upon a revocation of supervised release in this cause number but may nonetheless

appeal the determination of the revocation Guideline range. This waiver extends to any challenge

to the manner in which the sentence was determined or imposed, including the district court's

authority to make findings supporting the sentence. The Defendant also waives the right to appeal

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the denial of any inotion filed under 18 U.S.C. $ 3582(cXlXA) where such denialrests upon the

court's determination that a sentence reduction is not warranted under the factors set forth in l8

U.S.C. $ 3553(a).    In addition, the Defendant       agrees   to waive any collateral attack to   the

Defendant's conviction(s) and any sentence, pursuant to 28 U.S.C. $$ 2241, 2255, or any other

extraordinary writ, except on the issue of defense counsel's ineffective assistance.

                                 G   OV ERNMENT' S AG..REEMENT

       27.     Provided that the defendant fulfills the defendant's obligations as set out above, the

United States agrees not to bring additional criminal charges against the defendant arising out of

the facts forming the basis of the present Indictment.

       28,     This agreement is limited to the United States Attomey's Offrce for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

                                        VOLUNTARY PLEA

       29.     The defendant agrees and represents that this plea of guilty is freely and voluntarily

made and is not the result of force, threats or promises (other than the promises set forth in this

plea agreement and any addenda). There have been no representations or promises from anyone

as to what sentence the   Court will impose.

                              VIOLATION OF PLEA AGREEMENT

       30.     The defendant understands and agrees that         if   the defendant or the defendant's

attomey violates any provision of this plea agreement, the United States may declare this plea

agreement   null and void, and the defendant will thereafter be subject to prosecution for         any

criminal violation including, but not limited to, any crime(s) or offense(s) cbntained in or related

to the charges in this case, as well as perjurl, false statement, and obstruction ofjustice, and any

other crime committed by the defendant during proseoution of this case.

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                                      SPECIAL ASSESSMENT

        3l   .   At the time of sentencing, the defendant will tender a money order or certified check

payable   to the order of the United States District Court, District of New Mexico, 333 Lomas

Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $500.00 in payment of the

special penalty assessment described above.

                                    ENTIRETY OF AGREEMENT

        32,      This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so      in uniting and signed by all parties. The parties agree

and stipulate that this agreement   will   be considered part of the record of defendant's guilty plea

hearing as if the entire agreement had been read into the record of the proceeding. This agreement

is effective upon signature by the defendant and an Assistant United States Attomey, and upon

enfiry of a guilty plea by the defendant prusuant to this agreement.

       AGREED TO AND SIGNED this 4s day ofNovember, 2022.

                                                         ALEXANDER M.M. UBALLEZ
                                                         Unitcd States Attomey


                                                         ?,-v Cafrt-,
                                                         RANDY M. CASTELLANO
                                                         MATTHEW RAMIREZ
                                                         Assistant United States Attorneys
                                                         200 N. Church Street
                                                         Las Cruces, NM 88001
                                                         (575') 522-2304 - Tel.
                                                         (575) 522-2391 - Fax




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 ..     Tftis egrrcment has been read to me in the language I understand best, and I have carefully
diseussed every part of it with my attorney. I undersrand the terms of this agreemcnt, and
voluntarily agree to those terms. My attorney has advised me of my rights, of rheltern;nts of the
                                                                                                    i
offense, of possiblc defenses, of the sentencing factors $er forth iir tA U.S.C. 3553(a), of the
                                                                                  $
relevant sentenoing guidelines provisions, and of the consequenses of entering into ttris agreement.
No promises or inducements have been given to me othcr than those containid in this aircement.
No one has threatcncd or forced nre in any way to entcr inlo this agreernent.        , I am satisfied
with the representation of my attorney in this matter.




         I   am the attomey for RUDY OARCIA.         I   have carefirlly discussed every part of this
a8reement witlr my olient. Further, I have fully advised my client of his rights, of the elements of
the offense, of possiblo defenses, of the sentencing factors-set forth in t A U.S.C. 3553(a), of the
                                                                                    $
relevant sentenoing guidelines provisions, and of the consequences of enterlng lnto this agrecment.
To my knowledge, rny client's decision to cnter into this agreement is nn iniormed and voluntary
0ne.




                                                         Attorney for Defendant




                                                l5
